         Case 19-50012    Doc 94 Filed 04/03/19 EOD 04/03/19 10:37:12      Pg 1 of 1
                             SO ORDERED: April 3, 2019.




                             ______________________________
                             Robyn L. Moberly
                             United States Bankruptcy Judge

                         UNITED STATES BANKRUPTCY COURT                  SGENERIC (rev 12/2017)
                               Southern District of Indiana
                                46 E. Ohio St., Rm. 116
                                 Indianapolis, IN 46204
In re:

USA Gymnastics,                                       Case No. 18−09108−RLM−11
          Debtor.
                                                      Adv. Proc. No. 19−50012
USA Gymnastics,
             Plaintiff,
    vs.
Ace American Insurance Company,
Great American Assurance Company,
Liberty Insurance Underwriters Inc.,
et al.,
             Defendants.

         ORDER GRANTING MOTION TO EXTEND TIME TO FILE ADVERSARY
                              DOCUMENTS

A Joint Motion to Extend Time to File Answer was filed on April 2, 2019, by Defendant
American Home Assurance Company; Defendant Ace American Insurance Company;
Plaintiff USA Gymnastics; Defendant National Casualty Company; Defendant RSUI
Indemnity Company; Defendant TIG Insurance Company; Defendant Virginia Surety
Company, Inc.; Defendant Western World Insurance Company; Defendant Endurance
American Insurance Company; and Defendant Great American Assurance Company.

IT IS ORDERED that the Joint Motion to Extend Time to File Answer is GRANTED. The
time for filing is extended to June 7, 2019.

Attorney for Plaintiff USA Gymnastics must distribute this order.

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